Case 18-11494-LSS Doc 1 Filed 06/29/18 Page 1 of 23

Fi|l in this information to identify the cases

 

. United Siates Bankruptcy Court for the:

District of Delawere

. iS!alEl]
|
Case number (/rr.-nnwn]; l?' l i j 9 ';{ Chapter 7 n Check ifthis is an

| amended filing

 

Official Form 201
Voluntary Petition for Non-lndividuals Fi|ing for Bankruptcy 04/16

if more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case
number (if known). For more information, a separate document, instructions for Bankruptcy Forms for Non-lndividuals, is available.

 

 

1. Debtor’s name Education Manaeement Ii LI..C

2. A|l other names debtor used New Educalion Manaaement I..l,C
in the last 8 years EDMC On|ine Higher Education
include any assumed names.

trade names. and doing business
as names

 

 

 

 

 

 

 

 

 

 

 

 

 

 

3. Debtor’s federal Employer XX-XXXXXXX
identification Number (ElN)
4_ Debtor’s address Principa| place of business Maiiing address, if different from principal place
of business
Number Sireet Number Sireet
210 Sixth Avenue, 3"j Floor
P.O. Box
Pittsburgh, PA 15222
City Sfafe Z|P COde City State ZiP Code
Location of principal assets, if different from
principal place of business
Allc:gheny
Cour‘lly
Number Street
City Staze ZiP Code
s. Debtor’s website (URL) edmc.com
6. Type of debtor Corporation (inc|uding Limited Liabi|iiy Company (LLC) and Limited Liabi|ity Partnership (LLP))

m Partnership (exciuding LLP)
El Other. Specify:

 

Offlcia| Form 201 Voluntary Petiiion for Non-|ndividuais Fi|ing for Bankruptcy page ‘|

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Debtor

Name

7. Describe debtor's business

a. Under which chapter of the
Bankruptcy Code is the
debtor filing?

9. Were prior bankruptcy cases
filed by or against the debtor
within the last 8 years?

if more than 2 cases. attach a
separate iist.

10. Are any bankruptcy cases
pending or being filed by a
business partner or an
affiliate of the debtor?

List ali cases. if more than 1.
attach a separate list

Officiai Form 201

Educat'og Management ll i.LC

Case number wiman-iii

 

A. Check one.'

DHeaith Care Business (as defined in 11 U.S.C. §101(27A))

Cl Single Asset Real Estate (as defined in 11 U.S.C. §101(51B))
i;l Railroad (as defined in 11 U.S.C. § 101(44))

Cl Stockbroker (as defined in 11 U.S.C. § 101(53A))

n Commodity Broker (as defined in 11 U.S.C. §101(6))

m C|earing Bank (as defined in 11 U.S.C. §781(3))

None of the above

B. Check ali thatappiy.'

n Tax-exempt entity (as described in 26 U.S.C. §501)

Cl investment company, including hedge fund or pooled investment vehicle (as denned in 15 U.S.C.
§ 80a-3)

n investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

C. NA|CS (North American industry C|assification System) 4-digit code that best describes debtor. See
hit ;iivmw.uscouris. ovifour-cli ll-neti na|-associai`ron-naics-codes .

6113

 

 

Check ones

-Chapter 7
El Chapter 9
m Chapter 11. Check ali that appiy:

El Debtor’s aggregate noncontingent liquidated debts (exciuding debts owed to
insiders or afi'i|iates) are less than $2,566,050 (amount subject to adjustment on
4/01/19 and every 3 years afterthat).

El The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). if the
debtor is a small business debtor. attach the most recent balance sheet, statement
of operations, cash-flow statement and federal income tax return or if ali of these
documents do not exist, follow the procedure in 11 U.S.C. §1116(1)(B).

Ei A plan is being med with this petition

El Acceptances of the plan were solicited prepetition from one or more classes of
creditors, in accordance with 11 U.S.C. §1126(b).

m The debtor is required to Hie periodic reports (for exampie, 10K and iOQ) with the
Securiiies and Exchange Commission according to § 13 or 15(d) of the Securities
Exchange Act of 1934. Fi|e the Attachmeni to Voiuntary Petition for Non-/ndividuais Fiiing
for Bankruptcy under Chapter 11 (Officiai Form 201 A) with this form.

m The debtor is a shell company as defined in the Securities Exchange Act of 1934Ruie
12b-2.

n Chapter 12

 

 

 

No
n YeS. District When Case number
MM/ DD/YYYY
District When_Case number iV|M/ DD /YYYY
l;lNo
YeS. Debtor; See Schedu|e 1 Re|ationship District
When
lV|M / DD /YYYY

Case numberl if known

 

Voiuntary Petition for Non-lndividuals Fi|ing for Bankruptcy page 2

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Debtor Edycati`og Manegement ll LLC

Name

11. Why is the case filed in this
district?

12. Does the debtor own or have
possession of any real
property or personal property
that needs immediate
attention?

Case number milhollin

 

Check ali that appiy:

Debtor has had its domici|e, principal place of business, or principal assets in this district for 180
days immediately preceding the date of this petition or for a longer part of such 180 days than in any
other district.

l;l A bankruptcy case concerning debtor's affiliate, general partner. or partnership is pending in this district

No
n Yes. Answer below for each property that needs immediate attention Attach additional sheets if needed.

Why does the property need immediate attention? (Check all that apply.)

m it poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
What is the hazard?

 

Cl it needs to be physically secured or protected from theweather.

n it includes perishable goods or assets that could quickly deteriorate or lose value without
attention (for exampie, iivestock, seasonal goods, meat, dairyl produce, or securities-related
assets or other options).

Cl Other

 

Where is the property?

 

Number Street

 

 

Clty State ZiP Code

is the property insured?
m No

n Yes. insurance agency

 

Contact name

 

Phone

 

- Statistical and administrative information

13. Debtor’s estimation of
available funds

14. Estimated number of
creditors

15. Estimated assets

Officiai Form 201

Check one.l

n Funds will be available for distribution to unsecured creditors
After any administrative expenses are paid. no funds will be available for distribution to unsecured creditors.

Cl 1-49 Cl 1,000-5,000 El 25,001-50,000

C| 50-99 CI 5,001-10,000 Ci 50,001-100.000

El 100-199 10,001-25,000 Ei lvlorelhan100,000

El 200-999

El $0-$50,000 $1,000,001-$10 million El $500,000.001-$1 billion

iI| $50.001-$100,000 El $10.000,001-$50 million EI $1,000,000,001-$10 billion
El $100.001-$500,000 Cl $50,000,001-$100 million Ci $10,000,000,001-$50 billion
E| $500,001-$1 million L_.i $100,000.001-$500 million Ei lvlore than $50 billion

Voiuntary Petition for Non-lndividuais Fi|ing for Bankruptcy page 3

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Debtor NEitur:atii:in M§n§ge[ggg$ ii l_LC Case number urinon
_ _ __ _ El $o-$so,ooo Ei $1,000,001-$10 million $500,000,001-$1 billion
"' Est"“ated "ab"'t'°s ill $50,001-$100,000 El $10,000,001-$50 million Ei $1,000,000,001-$10 billion
Cl $100,001-$500.000 El $50,000,001-$100 million El $10,000,000,001-$50 billion
0 $500,001-$1 million El $100,000,001-$500 million n More than $50 billion

- Request for Rellef, Declarat|on, and Slgnatures

WARN|NG - Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
$500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17- Dec|arati°n and signature of l The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
authorized representative of

debtor petition.

l l have been authorized to file this petition on behalf of thedebtor.

l l have examined the information in this petition and have a reasonable belief that the information is true and
correct.

i declare under penalty of perjury that the foregoing is true and correct

Executedon _[€M , y

MNI iDDi\"YYY

 

x ‘-~ \M
Frank Jalutka
Signature of authorized representative of debtor Printed name
Title President

 

1s.Signature of attorney X GOA_>_JM_“V\ q O/)/W Date M¢£/

 

 

signaiure or atomiiy for det§)dr MM /l:)D /YYYY
Printed name ' ‘¢:_’IF _

Pepper Hamiiton LLP
Finn name

 

1313 Market St, Hercuies Piaza Ste 5100, PO Box 1709
Number Street

 

 

 

 

 

V\himington DE 19899-1709
Clty §tD ZiP Code
302-777-6500 strattoncl@geg;_lerlaw.com
meltzere@geggerlaw.cnm
Contact phone Email address
David B. Stratton #960 DE
Evelyn J. Meitzer #4581 DE
Bar number State

Officiai Form 201 Voiuntary Petition for Non-lndividua|s Fi|ing for Bankruptcy page 4

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Schedule 1
Case Number Debtor FEIN
18-1 1494 Education Management 11 LLC XX-XXXXXXX
18-1 1495 American Education Centers, Inc. XX-XXXXXXX
18-1 1496 Argosy Educatlon Group, Inc. __ _ XX-XXXXXXX
18-11497 Al'éosy Uliiversity of`California LLC XX-XXXXXXX
18-11498 Brown Mackie College - 'l`ucson, Inc. 86-026-4601
18-11499 n -Education Finance 111 LLC XX-XXXXXXX
18-1 1500 n Education Management Corporation XX-XXXXXXX
Kll‘j_Ol_ Education Management Holdings 11 LLC XX-XXXXXXX
18-11502 Education Management LLC XX-XXXXXXX
18-11503 Higher Education Services 11 LLC _ XX-XXXXXXX
18-11504 l\/Iiami International Univei'Sity ofAit & Design, Inc. XX-XXXXXXX
18-115;5 South Education - Texas LLC XX-XXXXXXX
18-11506 n S_Outh Universlty ofAlabama, Inc. XX-XXXXXXX
18-11507 n n South Univel‘Sity ofCarolina, Inc. XX-XXXXXXX
18-11508 _S_Outh University ofFlorida, Inc. XX-XXXXXXX
18-11509 n South University ofMichigan, LLC XX-XXXXXXX
18-11510 _ South University OfNorth Carolina LLC n XX-XXXXXXX
18-11511 gouth Univcrsity othio LLC XX-XXXXXXX
18-11512 l South University ofVirginia, Inc. XX-XXXXXXX
18-1 1513 _ South University Research 11 LLC 47-2323 744
18-11514 South University, LLC 58~1147090
18-1 1515 Stautzenberger College Education Corporation XX-XXXXXXX
18-11516 TAIC-San Diego, Inc. XX-XXXXXXX
18-11517 TAIC-San Francisco, Inc. _ XX-XXXXXXX
18-11518 The Art I_nstitutes International Minnesota, Inc. XX-XXXXXXX
iS-i 1519 d the An institute of Ailonio, LLC XX-XXXXXXX
18-1 1520 The Art Institute ofAustin,_lnc. XX-XXXXXXX
18-1 1521 ’ The Ar't lnstitute Of California-Hollywood, Inc. XX-XXXXXXX
18-11522 The Alt lnstitute of California-Inland Empire, Inc. XX-XXXXXXX

 

 

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18-11523 The Alt 1nstitute ofCalifomia - Los Angeles, Inc. XX-XXXXXXX
18-11524 The A11 institute of Califol‘nia-Orange County, lnc. XX-XXXXXXX
18-1 1525 The Al‘t institute of Califol‘nia-Sacramento, lnc. XX-XXXXXXX
18-11526 The Art lnstitute ofCharleSton, lnc. _ XX-XXXXXXX
18-1152_7 The Al't Instltute ofCharlotte, LLC XX-XXXXXXX
_ _18-_11528 The An instinno_oicolorooo, lno. XX-XXXXXXX
18-11529 The Al‘t Institute o_f Dalias, Inc. XX-XXXXXXX
_18-11530 The Art Institute cf Folt Lauderdale, Inc. XX-XXXXXXX
18-11531 The Al't institute Of Houston, Inc. XX-XXXXXXX
18-11532 The Art Institute oflndianapolis, LLC _ XX-XXXXXXX
18-11533_ The Ait institute of Las Vegas, Inc. XX-XXXXXXX
18-11534 The Art lnstitute of Michigan, Inc. _ _ XX-XXXXXXX
18-11535 The Art lnstitute ofPhiladelphia LLC XX-XXXXXXX
18-11536 The Ar't_In_Stitute of Pittsburgh LLC XX-XXXXXXX
18-11537 The An inoiirliio_of Ponland, rno. XX-XXXXXXX
18-11538 The Art lnstitute of Raleigh-Durham, Inc. XX-XXXXXXX
18-11539 The Art Institute Of St. Louis, Inc. XX-XXXXXXX
18-11540 The Alt lnstitute_of San Antonio, Inc. XX-XXXXXXX
18-11541 The Art lnStitute of Seattle, Inc. XX-XXXXXXX
18-1 1542 The Art lnstitute ofTampa, Inc. XX-XXXXXXX
18-11543 ill-o An institute ofronnoosoo-Noshvillo, _Ino, XX-XXXXXXX
18-11544 The Art Institute OfVirginia Beach LLC XX-XXXXXXX
18-11545 The Art Institute of Washington, Inc. XX-XXXXXXX
18-1 1546_ The Art Institutes Intemational II LLC XX-XXXXXXX
18-11547 The lllinois lnstitute of Art at Schaumburg, Inc. 36-4043 502
18-11548 The lllinois Institute of Art, Inc. XX-XXXXXXX
18-11549 The Institute of Post-Secondary Education, Inc. XX-XXXXXXX
18-11550 The New England Institute 01C Art, LLC XX-XXXXXXX
18-11551 The University of Sarasota, Inc. XX-XXXXXXX
18-1 1552 Western State University of Southern California XX-XXXXXXX

 

 

#49243164 v1

 

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CERTIFICATE OF SECRETARY OF BOARD OF DIRECTORS
OF EDUCATION MANAGEMENT CORPORATION

lone _i_, 2018

The undersigned, in his capacity as duly appointed Secretary of Education
Management Corporation, certifies as follows:

1. On June 4, 2018, the members of the board of directors, members of the
board of managers, individual managers, sole managers, sole trustees and sole members
(collectively, the "Boards"), as applicable, of Education Management Corporation and
all subsidiaries of Education Management Corporation (each, a "Company" and
collectively, the “Companies") held a duly noticed meeting (the "Meeting") pursuant to
each of such Company’s bylaws, limited liability company agreement,' or other
governing document, as applicable, and the applicable laws of the jurisdiction in which
such Company is organized

2. As part of that meeting, the Boards duly adopted the following resolutions
by the unanimous vote of the members of the Boards at the meeting:

RESOLVED, that the previous resolutions of the Company
and certain Subsidiaries authorizing the filing of Chapter 7 Cases
by the Company and certain Subsidiaries are hereby re-affirmed,
affirmed, re-adopted and adopted in all respects by the Company
and all Subsidiaries. The Authorized Officers are authorized and
empowered, with the advice of the Company’s professionals and
advisors, to (i) execute, verify, and tile with the United States
Bankruptcy Court for the District of Delaware (the “Bankruptcy
Court”) at such time as they shall determine all petitions,
schedules, lists, and other papers or documents, and to take any
and all actions which they deem necessary or proper, to commence
and prosecute the Chapter 7 Cases for the Company and Such
Subsidiaries as such Authorized Officer or Authorized Officers
deem advisable

FURTHER RESOLVED, that in addition to the specific
authorizations conferred upon the Authorized Officers by these
resolutions, each of the Authorized Officers (and their designees
and delegates) be, and they are, authorized and empowered, in the
name of and on behalf of the Company and Subsidiaries, to take or
cause to be taken any and all such other and further action, and to
execute, acknowledge, deliver, and file any and all such
agreements, certificates, instruments, and other documents, and

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pay such filing fees, as shall be necessary, advisable, or desirable
in order to fully carry out the intent and accomplish the purposes of`
the resolutions adopted herein. '

FURTHER RESOLVED, that all actions taken by the
officers of the Company and Subsidiaries prior to the date hereof
in connection with the liquidation of the Company or any matters
related thereto, or by virtue of these resolutions, are in _all respects
ratified, confirmed, and approved.

IN WITNESS WHEREOF, the undersigned has executed this Secretary Certificate as

of the date first set forth above.
@EMEL
_ ¢_T__j-`

Name: Donn Patton
Title: Secretary

 

 

 

 

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UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE
ln re: Chapter 7

Case No. 18-

)
)
)
EDUCATION MANAGEMENT II LLC, et al. )
)
)
Debtors. )

)

 

CONSOLIDATED CORPORATE OWNERSHIP STATEMENT PURSUANT TO
FEDERAL RULES OF BANKR[_I|*'I`CY PROCEDURE 1007 AND 7007.1

Education Management ll, LLC and fifty-eight of its affiliates (collectively,
“Debtors”) filed petitions for relief under chapter 7 of`title l l of the United States Code.
Pursuant to Rules l007(a)(1) and 7007. l of` the Federal Rules ofBankruptcy Procedure_,
Debtors attach hereto as Exh'ibit A an organizational chart reflecting all of their
ownership interests, with Debtors highlighted in yellow. Debtors further respectfully
represent as f`ollows:]

l. To the best of` Debtors' knowledge and belief, no person or entity directly
owns 10% or more of the equity interests of"Education Management Corporation.2

2. Education Management Corporation owns .lOO% of` the equity
interests of` Education Management Holdings LLC and Education Management

Holdings II LLC.

 

l Debtors are bolded throughout
2 The most recent report available to Debtors lists CEDE & Co. as the nominal holder of` 36.3% of the outstanding

equity interests in Education Management Corporation. Debtors have been unable to determine the actual beneficial
owners of the equity interests nominally held by CEDE & Co.

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3. Education Management I-loldings LLC owns 100% of the membership

interests of` Education Management LLC, which in turn owns lOO% of the equity

interests in the following entities:

a. Education Finance ll LLC;
b. Education Management Finance Corp.;
c. The Art institutes lnternational LLC_;
d. Brown Mackie Education Corporation; and
e. Higher Education Services, Inc.
4. Education Management Holdings II LLC owns 100% of the equity

interests of Education Management II LLC which in turn owns 100% of the equity

interests in the following entities:

El.

b.

Education Finance III LLC;

The Art Institutes International II LLC;

South University, LLC;

lEducation Management Escrow LLC;

Brown Mackie Education ll LLC (which owns 100% of the equity
interests ofBrown Mackie College - Salina LLC3)_;

Argosy University of California LLC;

`Higher Education Services II LLC;

South University Research II LLC; and

B'.l\/.l.C Real Pro_perty Holdi.ngs I_,LC.

 

3 Brown Mackie College - Salina LLC owns 100% of the equity interests of: (i) Brown Mackie College -
Birmingham LLC; (ii) Brown Mackie College - Kansas City LLC; and (iii) Brown Mackie College - Oklahoma

City LLC.

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5.

following entities:

6.

South University, LLC owns 100% of the membership interests of the

a.

b.

j-

South University of Alabama, Inc.;

South University of Arkansas LI_/C;

South University of Florida, Inc.;

South University of Michigan, LLC;
South University of North Carolina LLC;
South University of Ohio LLC;

South University of Carolina, Inc.;

South University of Tennessee, I.nc.;

South Education - Texas LLC; and

South University of Virginia, Inc.

The Art Institutes International II LLC owns 100% of the equity

interests ofthe following entities:

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3,.

The Art Institute of Atlanta, LLC (which owns 100% of the
equity interests Of The Art Institute of Virginia Beach LLC);
The Art Institute of Washington, Inc.;

The Art Institute of York - Pennsylvania LLC;

The Art Institute of Pittsbu rgh LLC;

The Art Institute of Philadelphia LLC;

The Art Institute of Washington - Dulles LLC;

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g. The Art Institute of Colorado, Inc. (which owns 100% of the
equity interests of The Institute of Post-Secondary Education
Inc.)_;

h. The Art Institute of Austin, Inc.;

i. The Art Institute of Fort Lauderdale, .Inc.;

_i. The Art Institutes International Minnesota, Inc.;

k. The Art institutes of New York City_, lnc.;

|. The Art Institute of Portland, Inc.;

m. The Art Institute of Seattle, lnc.;

n. The Art Institute ofJacksonville_, Inc._;

o. The Art Institute of Tampa, Inc.;

p. Miami lnternational University of Art & Design, Inc. (which
owns 100% of the equity interests of The Art Institute of
Charlotte, LLC4 and The Art Institute of Dallas, Inc.S);

q. The Illinois Institute of Art, Inc. (which owns lOO% of the equity
interests of: (i) The Art Institute of Michigan, _Inc.; (ii) The Art
Institute of Ohio - Cincinnati, lnc.; and (iii) The Illinois Institute
of Art at Schaumburg, Inc.);

r. The Illinois Institute of`Art - Ti'nley Park LLC;

s. The New England Institute of Art, LLC;

t, The Art Institute of San Antonio, Inc.;

 

4 The Art institute of Charlotte, LLC owns 100% of the equity interests of The Art Institute of Raleigh-Durham,
Inc.

5 The Art Institute of Dallas, Inc. owns 100% of the equity interests of The Art Institute of Fort Worth, Inc.

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u. The Art Institute of Tennessee _ Nashville, Inc.; and
v. The Art Institute of Charleston, Inc.
7. The Art lnstitutes international Minnesota, Inc. owns lOO% of the equity

interests of_` the following entities:

a. American Education Centers, Inc.;

b. The Art institute of Wisconsin, LLC;

c. M.ich.iana College vEd.ucation Corporation (which owns il% of the
equity interests of Southern Ohio College LLC and lOO% of the
ownership interests of Brown Mackie College - Tulsa, Inc. and
Brown Mackie College - Boise, I.nc.);

d. The Art Institute of St. .Louis, Inc.;

e. The Asher Schoo| of Business Education Corporation;

f. The Art institute of Salt Lake City, inc.;

g. The Art institutes international - Kansas City, inc.; and

h. T he Art institute of Tucson, inc.

8. American Education Centers, Inc. owns 78% of the equity interests of

Southern Ohio College LLC and lOO% of` the equity interests of the following entities:

3.

b.

US 117890270.01

Brown Mackie College - Dallas/Ft. Worth LLC;

Brown Mackie College _ San Antonio LLC;

Brown Mackie College - Miami North LLC;

Brown Mackie College - l.\/Iiami_, inc.; and

Stautzenberger College Education Corporation (which owns

ll% of` the equity interests of Southern O`hio College LLC and

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lOO% of the ownership interests of Brown Mackie College -
lndianapolis, lnc.).

9. Southern Ohio College LLC owns lOO% of the equity interests of Brown
Mackie College Tucson, Inc._, which owns lOO% of the ownership interests Of` the
following entities:

a. Brown Mackie College - P`hoenix, Inc.;

b. Brown Mackie College - Greenville, inc.;

c. Brown Mackie College - Albu'rquerque LLC; and
d. Brown Mackie College - St. Louis, Inc.

l0. Argosy University of Calif`ornia LLC owns lOO% ofthe equity interests
Of` the following entities:

a. TAIC ~ San Francisco, Inc. (which owns 100% of the equity
interests of`: (i) The Art Institute of California - Sacramento,
Inc.; (ii) The Art Institute of California - Orange County, Inc.;
and (iii) The Art Institute of California - Los Angeles, Inc.);

b. The Art Institute of California - Silicon Valley, lnc.;

c. TAIC - San Diego, Inc. (which owns lOO% of the equity interests
of The Art Institute of California - Inland Empire, Inc.);

d. The Art Institute of California _ Hollywood, Inc.; and

e. Argosy Education Group, Inc. (which owns lOO% of the equity
interests of Western State University of Southern California and

The University of Sarasota, lnc.).

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Wilmington, Delaware

US.l l7890270 01

/s/ Evelyn J. Meltzer

PEPPER HAMILTON LLP

David B. Stratton (DE 960)

Evelyn J. Meitzer (DE 4581)

Hercules Plaza, Suite 5100

1313 Market Street

P.O. Box 1709

Wilmington, Delaware 19899-1709

Telephone: (302) 777-6500

Email: strattond@pepperlaw.com
meltzere@pepperiaw.com

and

FAEGRE BAKER DANIELS LLP

Jay Jaffe

Dustin R. DeNeal

Kayla D. Britton

600 E. 96th street suite 600

lndianapolis, indiana 46240

Telephone: (317) 569-9600

Email: Jay.Jaffe@FaegreBD.com
Dustin.DeNeai@FaegreBD.com
Kayla.Britton@FaegreBD.com

Counse[for Debtors

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EXHIBIT A

[Organizational Chart]

US 117890270 01

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A< v _mm._ n:>>£
.Qw_ _z_z_ m_n_ _<o_ _<w_
Y_m__§v< § _ _S_ §on wmmc%_£ ed __ SB§~_ o.: __ m$_>_$
mc_.._m__.__mE o_>_n_m_ Ew_:m~wom E__d. n_ _ m o_>_m >=m._o>_c: £_..ow .co=md:vm cocm_r.
_<o_
cozmaoa._oo ,A<O_
uc_ wwo_>_mw
co._mmww~_ m_
_£w_m>_c: £:ow :aEB~._nm ._mz .I
A<O_ Awo__mo_wn:w ._o» Hmw_._N.Een_.H _o»
.| Ol_i_ xc_i_ twr_o w~m\_mamw ®wmv twr_o wuwr_wamm mvme
mc_Ueccoo wE, va__ | A<o_
uj m:__mw l omo__oo 013 m_EoEmO
w_c_ow_z c>>o._m __o 355ch >mom._<
_
EQ 39 Amm_._mn_wa:w _2 Awm__m__u_wn:m now
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